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                                 EXHIBIT B

                          Declaration of Jay Herriman
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



In re:                                                         PROMESA
                                                               Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                              No. 17 BK 3283-LTS
         as representative of                                  (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,

                                   Debtors. 1

DECLARATION OF JAY HERRIMAN IN SUPPORT OF THREE HUNDRED FORTY-
  FIRST OMNIBUS OBJECTION (NON-SUBSTANTIVE) OF THE PUERTO RICO
PUBLIC BUILDINGS AUTHORITY AND THE EMPLOYEES RETIREMENT SYSTEM
  OF THE GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO TO
                  CROSS-DEBTOR DUPLICATE CLAIMS

         I, Jay Herriman, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury that

the following is true and correct to the best of my knowledge, information and belief:




1
         The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
         number and the last four (4) digits of each Debtor’s federal tax identification number, as
         applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy
         Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
         Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS)
         (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
         Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal
         Tax ID: 3808); (iv) Employees Retirement System of the Government of the
         Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last
         Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
         (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and
         (vi) Puerto Rico Public Buildings Authority (“PBA”, and together with the
         Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No.
         19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are
         listed as Bankruptcy Case numbers due to software limitations).


                                                  1
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       1.      I am a Managing Director of Alvarez & Marsal North America, LLC (“A&M”).

The Financial Oversight and Management Board for Puerto Rico (the “Oversight Board”) retained

A&M to assist with, inter alia, the claims reconciliation process for the Debtors’ cases filed

pursuant to the Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”). 2

Unless otherwise stated in this declaration, I have personal knowledge of the facts set forth herein.

       2.      In my capacity as Managing Director of A&M, I am one of the persons responsible

for overseeing the claims reconciliation and objection process in the Debtors’ (as defined below)

cases filed pursuant to PROMESA. The Debtors’ ongoing claims reconciliation process involves

the collective effort of a team of A&M employees, as well as Proskauer Rose LLP and O’Neill &

Borges LLC, counsel for the Oversight Board, the legal representative for the Puerto Rico Public

Buildings Authority (“PBA”) and the Employees Retirement System for the Government of the

Commonwealth or Puerto Rico (“ERS,” and together with PBA, the “Debtors”).

       3.      I submit this declaration in support of the Three Hundred Forty-First Omnibus

Objection (Non-Substantive) of the Puerto Rico Public Buildings Authority and the Employees

Retirement System of the Government of the Commonwealth of Puerto Rico to Cross-Debtor

Duplicate Claims (the “Three Hundred Forty-First Omnibus Objection”). 3 I have personally

reviewed the Three Hundred Forty-First Omnibus Objection and exhibits thereto and am,

accordingly, familiar with the information contained therein.

       4.      In preparation for filing the Three Hundred Forty-First Omnibus Objection, and

under my direction and/or supervision, each of the claims at issue in the Three Hundred Forty-

First Omnibus Objection was carefully reviewed and analyzed in good faith using due diligence


2
       PROMESA is codified at 48 U.S.C. §§ 2101-2241.
3
       Capitalized terms used but not defined herein shall bear the meanings ascribed to them in
       the Three Hundred Forty-First Omnibus Objection.


                                                 2
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by the appropriate personnel. These efforts resulted in the identification of the claims to be

disallowed, as identified in the column titled “Claims to Be Disallowed” in Exhibit A to the Three

Hundred Forty-First Omnibus Objection (the “Claims to Be Disallowed”).

        5.         To the best of my knowledge, information, and belief, each of the Claims to Be

Disallowed is filed against ERS or PBA. However, the Claims to Be Disallowed assert liabilities

that are duplicative of other proofs of claim filed against the Commonwealth, as identified in the

column titled “Remaining Claims” in Exhibit A.            Further, to the best of my knowledge,

information, and belief, the asserted liability for the Claims to Be Disallowed would lie, if at all,

with the Commonwealth. Accordingly, to prevent multiple recoveries by the claimants, the

Debtors request that these duplicate claims against the Debtors be disallowed in their entirety. The

holders of the Claims to Be Disallowed will not be prejudiced by the disallowance, because they

will retain a claims as asserted against the Commonwealth.

        6.         Based on the foregoing, and to the best of my knowledge, information, and belief,

the information contained in the Three Hundred Forty-First Omnibus Objection and exhibits

thereto is true and correct, and the relief requested therein is in the best interests of PBA, ERS and

their creditors.

        7.         I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge and belief.

Dated: June 18, 2021
                                                       By:    /s/ Jay Herriman
                                                              Jay Herriman




                                                   3
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                                  ANEXO B

                          Declaración de Jay Herriman
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                   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                        PARA EL DISTRITO DE PUERTO RICO



In re:                                                           PROMESA
                                                                 Título III
JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
          como representante del                                 (Administrado Conjuntamente)
ESTADO LIBRE ASOCIADO DE PUERTO RICO et
al.,

                                    Deudores. 1

       DECLARACIÓN DE JAY HERRIMAN EN APOYO DE LA TRICENTÉSIMA
      CUADRAGÉSIMA PRIMERA OBJECIÓN GLOBAL (NO SUSTANTIVA) DE LA
     AUTORIDAD DE EDIFICIOS PÚBLICOS DE PUERTO RICO Y DEL SISTEMA DE
    RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO LIBRE ASOCIADO
        DE PUERTO RICO A RECLAMACIONES DUPLICADAS DE DEUDORES
                               RECÍPROCOS




1
    Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
    Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
    cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
    Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
    federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
    (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
    "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
    Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
    cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
    Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
    dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
    de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
    "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
    identificación contributiva federal: 3801) (Los números de los casos de Título III están
    enumerados como números de casos de quiebra debido a ciertas limitaciones en el programa
    informático).


                                                   1
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         Yo, Jay Herriman, de conformidad con el Título 28 U.S.C., § 1746, por medio de la

presente declaro, so pena de incurrir en falso testimonio, que lo que sigue es veraz y correcto a mi

fiel saber y entender:

         1.     Soy director general de Alvarez & Marsal North America, LLC ("A&M"). La Junta

de Supervisión y Administración Financiera para Puerto Rico (la "Junta de Supervisión") contrató

a A&M para que le ayudara, entre otras cosas, con el proceso de reconciliación de reclamaciones

en relación con los casos de los Deudores radicados conforme a la Ley para la Supervisión,

Administración y Estabilidad Económica de Puerto Rico ("PROMESA"). 2 Salvo disposición en

contrario en la presente declaración, tengo conocimiento personal de los hechos aquí expuestos.

         2.     En mi capacidad de director general de A&M, soy una de las personas responsables

de supervisar el proceso de reconciliación y objeciones relativo a las reclamaciones en el marco

de los casos de los Deudores (según se define abajo) radicados conforme a PROMESA. El proceso

continuo de reconciliación de reclamaciones de los Deudores implica un esfuerzo colectivo de un

equipo de los empleados de A&M, así como de Proskauer Rose LLP y de O’Neill & Borges LLC,

abogados de la Junta de Supervisión, el representante legal de la Autoridad de Edificios Públicos

de Puerto Rico (la "AEP") y del Sistema de Retiro de los Empleados del Gobierno del Estado Libre

Asociado de Puerto Rico (el "SRE", y junto con la AEP, los "Deudores").

         3.     Realizo esta declaración en apoyo de la Tricentésima cuadragésima primera

objeción global (no sustantiva) de la Autoridad de Edificios Públicos de Puerto Rico y del Sistema

de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico a

Reclamaciones Duplicadas de Deudores Recíprocos (la "Tricentésima cuadragésima primera




2
    PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101-2241.


                                                 2
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objeción global"). 3 He revisado personalmente la Tricentésima cuadragésima primera objeción

global, y los anexos relativos a la misma, por lo que estoy familiarizado con la información que

contienen.

         4.     Durante el proceso de preparación para radicar la Tricentésima cuadragésima

primera objeción global, bajo mi dirección y/o supervisión, cada una de las reclamaciones

controvertidas en la Tricentésima cuadragésima primera objeción global fue examinada y

analizada cuidadosamente de buena fe aplicando la debida diligencia por parte del personal

pertinente. Dichos esfuerzos resultaron en la identificación de las reclamaciones que han de ser

rechazadas, según se identifica en la columna titulada "Reclamaciones que han de ser rechazadas"

del Anexo A de la Tricentésima cuadragésima primera objeción global (las "Reclamaciones que

han de ser rechazadas").

         5.     A mi fiel saber y entender, cada una de las Reclamaciones que han de ser rechazadas

se radica contra el SRE y la AEP. Sin embargo, las Reclamaciones que han de ser rechazadas

alegan responsabilidades que constituyen duplicados con respecto a otras evidencias de

reclamaciones radicadas contra el ELA, según se identifica en la columna titulada "Reclamaciones

Restantes" del Anexo A. Además, a mi fiel saber y entender la responsabilidad alegada por las

Reclamaciones que han de ser rechazadas en todo caso corresponderían al ELA. En consecuencia,

para evitar múltiples recuperaciones por parte de los reclamantes, los Deudores solicitan que

dichas reclamaciones duplicadas contra los Deudores sean rechazadas en su totalidad. Los titulares

de las Reclamaciones que han de ser rechazadas no se verán perjudicados por dicho rechazo, puesto

que mantendrán reclamaciones contra el ELA.


3
    Los términos en mayúscula utilizados que no estén definidos en el presente documento tendrán
    el significado que les haya sido atribuido en la Tricentésima cuadragésima primera objeción
    global.


                                                 3
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       6.     Sobre la base de lo que antecede, y a mi fiel saber y entender, la información

contenida en la Tricentésima cuadragésima primera objeción global y en sus anexos es veraz y

correcta, y el remedio allí solicitado redunda en el mejor interés de la AEP, del SRE y de sus

acreedores.

       7.     Declaro, so pena de incurrir en falso testimonio conforme a las leyes de los Estados

Unidos de América, que lo que antecede es veraz y correcto a mi fiel saber y entender.

Fecha: 18 de junio de 2021
                                                    Por:   [Firma en la versión en inglés]
                                                           Jay Herriman




                                               4
